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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF OKLAHOMA

ERIKA ROBLES, surviving next of kin of )
ORLANDO ROBLES, deceased,              )
                                       )
           Plaintiff,                  )
                                       )
vs.                                    )   Case No. CIV-20-1225-SLP
                                       )   (removed from Sequoyah County
MVT SERVICES LLC, JUAN GARCIA, )            District Court Case No. CJ-2020-137)
LIMA TRUCK SALES, INC., AMILCAR )
ESTRADA, DMT SERVICES, INC., and )
MARK GAITHE,                           )
                                       )
     Defendants.                       )


          PLAINTIFF’S MOTION TO REMAND AND BRIEF IN SUPPORT



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TO THE HONORABLE JUDGE OF SAID COURT:
       Plaintiff respectfully moves this Court to remand the above matter to the District

Court of Sequoyah County, Oklahoma, the court from which this matter was improperly

removed by Defendants MVT Services, LLC (“MVT”) and Defendant Juan Garcia.

Defendants’ removal was procedurally defective because they did not seek or obtain the

consent of the four other defendants and they removed the case to the wrong District Court.

Additionally, this case must be remanded for lack of subject-matter jurisdiction because

Defendant Garcia is a properly joined, non-diverse defendant.

                                     I.     Background

Orlando Robles

      1.    Orlando Robles, the deceased, lived in El Paso, Texas with his wife Erika and

their daughter. Orlando is also survived by his mother and other children. He held a

commercial driver’s license and began working for OEP Holdings, LLC, a subsidiary of

Defendant MVT, as a commercial motor vehicle driver in the fall of 2020. In October 2020,

Mr. Robles was co-driving with other MVT drivers as he received on the job training for

his new employment. However, at the time of this collision, Orlando Robles was off duty

in the sleeper berth of the truck and was not in the course and scope of his employment.

       2.   Defendant MVT does not carry Workers’ Compensation insurance for its

Texas Employees, so Mr. Robles chose to enroll in an employee benefit plan with

Defendant MVT that would pay benefits in the event of his injury or death. MVT is not

entitled to the exclusive remedy provision because it chose not to provide workers

compensation coverage to Orlando Robles, under Texas Labor Code section 406.002.


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The Crash

       3.   On October 28, 2020, at about 4:00 a.m., Defendant Estrada was driving west

on Interstate 40 approaching Roland, Oklahoma in a box truck owned by Defendant Lima

Truck Sales. He stopped the truck on the highway, partially on the shoulder and partially

in the right-hand lane.

       4.   At the same time, Mr. Robles, was riding west on Interstate 40 in a tractor

trailer furnished by Defendant MVT, driven by Defendant Garcia, an employee of

Defendant MVT. Mr. Robles was off duty, taking his legally mandated rest break. While

Mr. Robles was resting in the sleeper berth, Defendant Garcia crashed the tractor trailer

into the rear of the stopped Lima Truck Sales box truck.

       5.   Defendant Gaithe, an employee of Defendant DMT Services, was driving a

tractor trailer westbound on Interstate 40, approaching the crash site of the Lima Truck

Sales box truck and MVT tractor trailer. Defendant Gaithe crashed into the cab of the MVT

tractor trailer with Orlando Robles inside.

       6.   Orlando Robles died of injuries sustained in the collisions, leaving behind his

spouse, children, and mother.

The Lawsuit

       7.   On November 10, 2020, Plaintiff filed suit in Sequoyah County, Oklahoma,

the county where the fatal crash took place. Sequoyah County lies in the Eastern District

of Oklahoma.

       8.   Before any party could conduct discovery or take a single deposition,

Defendants MVT and Garcia filed their notice of removal in the Western District of


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Oklahoma on December 4, 2020. Defendants MVT and Garcia have not obtained consent

for removal from of any other defendant. 28 U.S.C. Section 1446(b) requires "each

defendant shall have 30 days after receipt by or service on that defendant of the initial

pleading or summons described in paragraph 1 to file the notice of removal." 28 U.S.C. §

1446(b)(2)(B). Defendants Lima Truck Sales, Inc., Amilcar Estrada, DMT Services, Inc.,

and Mark Gaithe failed to consent to removal or join in the removal by the 30-day deadline.

    Party            Role       Residence    Date of Service    Consent to removal or
                                                                Joinder in Removal by
                                                                deadline
    MVT              Defendant New           11/19/201          Filed removal
    Services, LLC              Mexico
    Juan Garcia      Defendant Texas         11/14/202          Filed removal
    Lima Truck       Defendant California    11/19/203          No
    Sales, Inc.
    Amilcar          Defendant California    12/02/204          No
    Estrada
    DMT              Defendant Arkansas      11/24/205          No
    Services, Inc.
    Mark Gaithe      Defendant Arkansas      11/24/206          No




1
  See Exhibit 1 - MVT Return of Service
2
  See Exhibit 2 - Garcia Return of Service
3
  See Exhibit 3 - Lima Affidavit of Service
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                              II.    Argument & Authorities

       9.   As a creature of statute, removal comes with statutory procedures and

requirements that are mandatory in nature. Henderson v. Holmes, 920 F. Supp. 1184, 1185

(D. Kan. 1996). Defendants MVT and Garcia fail to meet the mandatory requirements of

removal by: (1) removing the case to the wrong court; (2) failing to obtain consent of the

other defendants; and (3) alleging fraudulent joinder even though plaintiff pleaded a viable

claim against the non-diverse defendant.

The Law of Removal and Remand

       10. Federal courts are courts of limited jurisdiction. See Kokkonen v. Guardian

Life Ins. Co. of America, 511 U.S. 375, 377 (1994). They possess only the power authorized

by the Constitution and by statute. See Willy v. Coastal Corp., 503 U.S. 131,136-37 (1992);

Bender v. Williamsport Area Sch. Dist., 475 U.S. 534, 541 (186). It is to be presumed that

a cause lies outside this limited jurisdiction. See Turner v. Bank of North America, 4 U.S.

8, 11 (1799); Laughlin v. Kmart Corp., 50 F.3d 871, 873 (10th Cir 1995); Fajen v. Found.

Reserve Ins. Co., 683 F.2d 331, 333 (10th Cir. 1982). The burden of establishing to the

contrary rests upon the party asserting jurisdiction. See McNutt v. General Motors

Acceptance Corp., 298 U.S. 178, 182-83 (1936).

       11. Civil actions may only be removed if the federal court would have had original

jurisdiction over the case. See 28 U.S.C. § 1441(a). The Defendants’ purported authority

for this Court’s original jurisdiction over the case is complete diversity under 28 U.S.C. §

1332. See ECF 1, ¶ 12.

       12. Subject-matter jurisdiction under § 1332(a)(1) requires complete diversity


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among the parties and an amount in controversy exceeding $75,000, exclusive of interest

and costs. See 28 U.S.C. § 1332. Complete diversity is present only when no party on one

side of a dispute shares citizenship with any party on the other side of a dispute. See

McPhail v. Deere & Co., 529 F.3d 947, 951 (10th Cir. 2008).

       13. Plaintiff does not dispute the amount in controversy exceeds $75,000.00.

       14. Plaintiff is resident of Texas. In the Notice of Removal, Defendants admit that

Defendant Garcia is a resident of Texas as well. See ECF 1, ¶ 7.

       15. "Because the jurisdiction of federal courts is limited, there is a presumption

against our jurisdiction." Bd of County Comm'rs of Boulder County v. Suncor Energy

(U.S.A.) Inc., 965 F.3d 792, 813 (10th Cir. 2020). "Statutes conferring jurisdiction on

federal courts are to be strictly construed, and doubts resolved against federal jurisdiction."

Id. (quoting F & S Constr. Co. v. Jensen, 337 F.2d 160, 161 (10th Cir. 1964)).

       16. "The presumption against jurisdiction also applies with full force to removal."

Id. at 814; see also Urban Financial REO, LLC v. Atwood, No. 19-CV-39, 2019 U.S. Dist.

LEXIS 154965, 2019 WL 4307128, at *1 (N.D. Okla. Sep. 11, 2009) ("the Court strictly

construes the removal statute and, as a general matter, must resolve all doubts against

removal.") (citing Fajen v. Found. Reserve Ins. Co., Inc., 683 F.2d 331, 333 (10th

Cir.1982)); see also Warner v. CitiMortgage, Inc., 533 Fed. Appx. 813, 816 (10th Cir.

2013); see also Farmland Nat. Beef Packing Co., L.P. v. Stone Container Corp., 98 Fed.

Appx. 752, 756 (10th Cir. 2004).




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       17. "Procedural requirements established by Congress for gaining access to the

federal courts are not to be disregarded . . . ." Hickey v. Brennan, 969 F.3d 1113, 1118

(10th Cir. 2020) (citation and quotation omitted).

No Other Defendants Consented to Removal

       18. None of the four non-removing Defendants have filed notice of their consent

to removal of the case. Defendants Estrada, DMT Services, Inc., and Gaithe have filed

answers in federal court, but have not consented to removal. Defendant Lima Truck was

not even informed by Defendants MVT and Garcia that the case was removed and has not

consented. See ECF 15, ¶ 4. Defendants MVT and Garcia do not explain their failure to

obtain consent from any other defendant.

       19. 28 U.S.C. Section 1446(b) requires "all defendants who have been properly

joined and served must join in or consent to the removal of the action." 28 U.S.C. §

1446(b)(2)(A); Knight v. Mooring Capital Fund, LLC, 7449 F.3d 1180, 1183-84 (10th Cir.

2014). This requirement is commonly referred to as the "unanimity rule." Bruning v. City

of Guthrie, Okla., 101 F.Supp.3d 1142, 1144 (W.D. Okla. 2015). The lack of unanimous

consent is a procedural defect warranting remand. Maddox v. Delta Airlines, No. 10-CV-

456, 2010 U.S. Dist. LEXIS 104003, 2010 WL 3909228, at *4 (N.D. Okla. Sep. 29, 2010);

see also Farmland, 98 Fed. Appx. at 756.

       20. The removing party has the burden of showing that removal was properly

accomplished. Village Apartments Company, LP v. Asset Shelters Group, Inc., No. 07-CV-

817, 2008 U.S. Dist. LEXIS 130710, 2008 WL 11414603, at *2 (D.N.M. Apr. 29, 2008);




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McShares, Inc. v. Barry, 979 F. Supp. 1338, 1342 (D. Kan. 1997); Scheall v. Ingram, 930

F. Supp. 1448, 1449 (D. Colo 1996).

       21. Each defendant must “independently and unambiguously” file their consent to

removal. See Kozel v. Okla. Dep't of Pub. Safety, No. CIV-12-274-FHS, 2012 U.S. Dist.

LEXIS 105400, at *5-6 (E.D. Okla. 2012). Each party must independently and

unambiguously file notice of its consent and its intent to join in the removal within the

thirty-day period. See 511 Couch Llc v. Travelers Prop. Cas. Co. of Am., No. CIV-14-

1279-F, 2015 U.S. Dist. LEXIS 191881, at *21 (W.D. Okla. 2015) (citation omitted).

       22. "To comply with the requirements of the unanimity rule, the Court must

actually receive acknowledgment of consent by each defendant; it will not be implied."

Maddox 2010 U.S. Dist. LEXIS 104003, at *4. Filing an answer in federal court is not

consent to removal. See Landman, 896 F. Supp. at 409 (and cases cited therein). "[A]

party's filing of an answer does not satisfy the unambiguous expression of consent required

for proper removal." Landman, 896 F. Supp. at 409 (citing Production Stamping Corp. v.

Maryland Casualty Co., 829 F. Supp. 1074, 1077 (E.D. Wis. 1993). See also Romero v.

Knee, No. CV 1:17-1273 RB-KBM, 2018 U.S. Dist. LEXIS 140192, at *5 (D.N.M. 2018).

When consent is not timely filed by each defendant, the removal is deficient, and remand

is required. See 511 Couch Llc v. Travelers Prop. Cas. Co. of Am., No. CIV-14-1279-F,

2015 U.S. Dist. LEXIS 191881, at *21 (W.D. Okla. 2015).

       23. The Eastern District of Oklahoma addressed a very similar violation of the

unanimity rule in September 2020 and ordered remand. In Flowers, the removing

Defendants did not obtain, and did not explain their failure to obtain consent from the other


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Defendants. Flowers v. Wagoner Cty Bd. of Cty. Comm’rs, No. 20-cv-236-JFH, 2020 U.S.

Dist. LEXIS 167153, at *4-5 (E.D. Okla. 2020). The court held that it is Defendants' burden

to prove the case has been properly removed, and that the court is required to construe 28

U.S.C. § 1446(b)(2)(A) strictly and resolve doubts in favor of remand. Id. When

Defendants have not provided their consent to the removal, the removal is procedurally

defective, and the case must be remanded. Id.

       24.   In Kozel v. Oklahoma Department of Public Safety, 2012 WL 3101403 (E.D.

Okla. July 30, 2012), the Court addressed a motion to remand alleging that not all of the

defendants consented to the removal. In consideration of the unanimity rule, the burden on

removing defendants and the presumption against removal, the Court found that it was

appropriate to follow the majority rule that requires each defendant to independently file

its consent to the removal. Id. at *2. The Court thus found insufficient a statement in the

notice of removal that the other defendants did not object to removal. Id. Because the

removal was procedurally defective, the Court granted the motion to remand. Id. at *3.

       25. Just as in Flowers and Kozel, Defendants MVT and Garcia did not obtain the

consent of the non-removing Defendants. Therefore, Defendants MVT and Garcia fail to

meet the burden to prove that removal is proper, and the case must be remanded.

Defendants Removed this Case to the Wrong District Court

       26. There is no question that, had this case been removable, Defendants should

have removed this case to the Eastern District of Oklahoma. The Western District has no

connection to the events of the crash, or the parties involved. Sequoyah County, the county

of the original suit and location of the crash, is in the Eastern District of Oklahoma. 28


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U.S.C. § 116(b). In their pleadings, Defendants’ state that the Eastern District is the proper

venue. See ECF 1, ¶ 13.

       27. Removal is “clearly defective” when a case is removed to the wrong court. See

Kirk Family Tr. v. Flint Ridge Prop. Owners Ass'n, No. 08-CV-68-TCK-FHM, 2008 U.S.

Dist. LEXIS 96832, at *9 (N.D. Okla. 2008). Both the clear statutory language and the

weight of authority support the proposition that defendants may not remove a state court

action to a district court outside the federal district in which the state court is seated. See

PT United Can Co. Ltd. v. Crown Cork & Seal Co., Inc., 138 F.3d 65, 72 (2d Cir. 1998)

("[A] party may challenge removal as itself improper, or as having been made to the wrong

district court if the case was removed to a district court other than that "embracing" the

state court in which the action was brought."); Kerobo v. Southwestern Clean Fuels, Corp.,

285 F.3d 531, 535 (6th Cir. 2002) ("There is only one federal venue into which a state court

action may be removed, and that is in the statutorily dictated 'district court…for the district

and division embracing the place where [the state court] action [was] pending.'").

Wilmington Air Ventures IV, Inc. v. Sw. Aviation Specialties, LLC, No. 07-CV-280-JHP,

2007 U.S. Dist. LEXIS 45727, at *4-5 (N.D. Okla. 2007).

       28. In addition to failing comply with the requirement to obtain consent from all

defendants who have been properly joined and served, which requires remand, the case is

not properly before the Western District of Oklahoma and provides additional grounds for

remanding this case to the State District Court of Sequoyah County, Oklahoma.




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Complete Diversity Does Not Exist Between Parties

         29. While this case should be remanded as set out above, complete diversity does

not exist does not exist under 28 U.S.C. § 1332(a). Defendants’ claim this court has

jurisdiction under 28 U.S.C. § 1332(a), which requires complete diversity among the

parties—i.e., the citizenship of all defendants must be different from the citizenship of all

plaintiffs. McPhail v. Deere & Co., 529 F.3d 947, 951 (10th Cir. 2008). The citizenship of

the named parties is undisputed. Plaintiff and Defendant Garcia are both citizens of Texas.

The material issue is whether Defendants MVT and Garcia have been fraudulently joined.

Defendants Cannot Meet the Heavy Burden of Proving Fraudulent Joinder

         30. Significant, unresolved questions of fact and law prevent Defendants from

meeting the heavy burden of proof for fraudulent joinder.

         31. The doctrine of fraudulent joinder permits a federal court to disregard the

citizenship of a nondiverse defendants against whom the plaintiff has not asserted or cannot

assert a colorable claim for relief. See Dutcher v. Matheson, 733 F.3d 980, 988 (10th Cir.

2013).

         32. The party asserting fraudulent joinder bears the burden of proof. See Montano

v. Allstate Indem., 2000 U.S. App. LEXIS 6852, 2000 WL 525592, at *1 ("The case law

places a heavy burden on the party asserting fraudulent joinder.").

         33. To justify removal based on diversity jurisdiction, a defendant must plead a

claim of fraudulent joinder with particularity and prove the claim with certainty. See

McLeod v. Cities Serv. Gas Co., 233 F.2d 242, 246 (10th Cir. 1956)("[F]raudulent joinder




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must be pleaded with particularity and proven with certainty.")(citation omitted). Accord

Couch v. Astec Indus., Inc., 71 F. Supp. 2d 1145, 1146-47 (D.N.M. 1999).

         34. "To establish fraudulent joinder, the removing party must demonstrate either:

1) actual fraud in the pleading of jurisdictional facts, or 2) inability of the plaintiff to

establish a cause of action against the non-diverse party in state court." Id. At *1147.

(alteration and internal quotation marks omitted); see also Faith Temple, Inc. v. Church

Mut. Ins. Co., No. CIV-20-13-G, 2020 U.S. Dist. LEXIS 131309, at *3-4 (W.D. Okla.

2020).

         35. Where, as here, removal is premised on the second basis, the removing party

must demonstrate "[t]he non-liability of the defendant[] alleged to be fraudulently joined .

. . with 'complete certainty.'" Hernandez, 73 F. Supp. 3d at 1336 (quoting Smoot v. Chi.,

Rock Island & Pac. R.R., 378 F.2d 879, 882 (10th Cir. 1967)). "This does not mean that

the federal court will pre-try, as a matter of course, doubtful issues of fact to determine

removability[.]" Smoot, 378 F.2d at 882 (internal quotation marks omitted). "But upon

specific allegations of fraudulent joinder the court may pierce the pleadings, consider the

entire record, and determine the basis of joinder by any means available." Id. (citation and

internal quotation marks omitted). Any uncertainty regarding the viability of the claims

asserted against the nondiverse party—including "disputed questions of fact" and

"ambiguities in the controlling law"— must be resolved in favor of remand. Montano v.

Allstate Indem., No. 99-2225, 2000 U.S. App. LEXIS 6852, 2000 WL 525592, at *2 (10th

Cir. Apr. 14, 2000) (internal quotation marks omitted); Dutcher, 733 F.3d at 988.




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       36. In this case, resolving disputed questions of fact and law in favor of remand

makes it impossible for Defendants to meet the burden of proving with complete certainty

the inability of Plaintiff to establish a cause of action against Defendants MVT and Garcia.

The evidence currently available to the parties is limited. The unresolved questions of fact

and law need to be addressed in state court through discovery, depositions, and litigation.

A non-exhaustive list of the unresolved questions of fact and law demonstrates this point:

    Under Oklahoma conflict of law doctrine for torts, which state’s laws should be
     applied?

    Was Mr. Robles acting in the course and scope of employment when he was off duty,
     not on the clock, on a legally mandated rest break, resting in a sleeper berth?

    Is Defendant Garcia liable in an individual capacity, beyond his employment with
     MVT?

    Does Defendant MVT even have an applicable Worker’s Compensation policy?

    Can Defendant MVT claim protection under an Oklahoma Worker’s Compensation
     policy against a Texas employee who elected to participate in a Texas employee
     benefits plan rather than Worker’s Compensation?

    Does an Oklahoma Worker’s Compensation policy preempt Plaintiff’s allegations
     that Defendants took willful, wanton, and intentional actions which Defendants knew
     were certain or substantially certain to result in Mr. Robles’ death?

       37. Answering these questions to the complete certainty standard of fraudulent

joinder will take extensive discovery and litigation. "A claim which can be dismissed only

after an intricate analysis of state law is not so wholly insubstantial and frivolous that it may

be disregarded for purposes of diversity jurisdiction.” See Batoff v. State Farm Ins. Co.,

977 F.2d 848, 851-53 (3d Cir. 1992).




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        38. For the purpose of this motion, however, each disputed question of fact and

law must be resolved in favor of the non-removing party. Montano v. Allstate Indemnity,

2000 U.S. App. LEXIS 6852, 2000 WL 525592, at *1 (10th Cir. April 14, 2000). Resolving

disputed questions of fact and law in this case means that this Court must assume, for

example, that there is no applicable Worker’s Compensation policy; that Mr. Robles was

not in the course and scope of employment; and that Plaintiff’s allegations are not

preempted by the Oklahoma Worker’s Compensation Act.

        39. The question of whether a worker’s compensation policy would provide

coverage for Orlando Robles is made even more complicated in that Orlando Robles was

hired in Texas by OEP Holdings, LLC (“OEP”) which is a Texas Domestic Limited

Liability Corporation with its Principal Place of business located at 5715 Cromo Drive, EL

Paso, Texas 79912. As part of his employment, Orlando Robles was notified that OEP

Holdings, LLC 1155 N Zaragoza, Suite C106, El Paso, Texas 79907 (hereinafter referred

to as the “Company”) had adopted an Occupational Injury Benefit Plan ("Plan") for the

exclusive benefit of certain of its employees whose principal place of employment is

in the State of Texas. The Company has rejected coverage for its Texas employees

under the Texas Workers’ Compensation Act and hereby adopts this Plan effective as

of January 1, 2015, to provide the benefits as set forth herein. (emphasis added).7 By

electing under Texas law to reject workers compensation coverage for Texas employees,

Defendants MVT and Garcia are not protected by the exclusive remedy provision.



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    See Exhibit 7 - OEP MVT PLAN DOCUMENT

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       40. Defendants provided no evidence to support their claim that Mr. Robles was

covered under any workers compensation policy and did not disclose that Defendants had

rejected workers compensation coverage for Texas employees such as Orlando Robles.

Moreover, the self-serving affidavit provided by Rosanna Castro does not meet Defendants

burden to prove their non-liability with complete certainty. The affidavit lacks foundation

and contains conclusory statements from a proposed witness with no personal knowledge

of the incident or what was occurring at the time of the incident. Further the affidavit, and

the only evidence presented, fails to address the workers compensation/employee benefit

plan coverage issue and does not address whether the acts of the Defendants may fall under

Parret–Wells exception to any Workers’ Compensation exclusive remedy.

       41. The unresolved questions of fact and law make it impossible for Defendants to

meet the burden of fraudulent joinder by proving with complete certainty the inability of

Plaintiff to establish a cause of action against Defendant Garcia. Therefore, the case must

be remanded.

Plaintiff Pleaded a Viable Claim Against Defendant Garcia Under Oklahoma’s
Workers’ Compensation Law

       42. Ignoring, arguendo, Defendant’s defective removal and the disputed questions

of fact and law, assuming Mr. Robles was in the course and scope of employment, and

assuming that Oklahoma Workers’ Compensation law applies, and even assuming that

Defendant MVT had a valid, applicable Workers’ Compensation insurance policy, Plaintiff

still has plead a viable claim that is not preempted by the Oklahoma Workers’

Compensation Act. Plaintiff pleaded that Defendants took willful, wanton, and intentional



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actions which Defendants knew were certain or substantially certain to result in Mr.

Robles’ death. Plaintiff’s pleading meets the Parret–Wells exception to Workers’

Compensation preemption, giving her a viable claim against Defendants Garcia and MVT

that must be remanded to state court.

       43. In Parret, the Oklahoma Supreme Court adopted the “substantial certainty”

test for the intentional tort exception to workers’ compensation exclusivity, refusing to

apply a stricter standard of intent to a worker's tort claim against the employer than the

Restatement standard of intent which would be applied to any other intentional tort. Parret

v. UNICCO Serv. Co., 2005 OK 54, ¶ 27, 127 P.3d 572, 579.

       44. Wells reaffirmed the Parret standard by holding that the willful, deliberate,

specific intent of the employer to cause injury, and those injuries that an employer knows

are substantially certain to occur, are both intentional torts that are not within the scheme

of the workers' compensation system or its jurisdiction. Wells v. Okla. Roofing & Sheet

Metal, L.L.C., 2019 OK 45, ¶ 24, 457 P.3d 1020, 1029. The Wells decision also elaborated

that an employer’s conduct and the surrounding circumstances can be established through

circumstantial evidence. Id.

       45. In both Parret and Wells, the Oklahoma Supreme Court held that the alleged

conduct in each case was an exception Workers’ Compensation preemption. In Parret, a

worker died when he was electrocuted while replacing emergency lights at a job site as

ordered to do by his employer even though the employee knew that the lights were "hot or

energized." In Wells, an employee was working on a roof when his employer required him

to unhook his safety line; he walked a short distance unhooked before falling to his death.


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       46. Plaintiff pleaded, among other theories, that Defendant Garcia intentionally

drove while fatigued, that Defendant MVT allowed or instructed Defendant Garcia to drive

while fatigued and that Defendant MVT furnished a vehicle to Defendant Garcia at a time

when it knew or should have known Defendant Garcia was not a careful, safe or competent

driver and as a result thereof, persons, including, Orlando Robles were likely to be injured.

To make a comparison to Wells, adequate rest is the safety line of truckers. Defendant MVT

instructing or allowing Defendant Garcia to drive while fatigued is as deliberate and

certainly dangerous as ordering the release of a safety line while working on a roof.

Therefore, Plaintiff’s allegations fall under the Parret-Wells exception to Workers’

Compensation preemption and can be pursued in state court.

       47. This is one example of the many viable claims Plaintiff pleaded that defeats

the assertion of fraudulent joinder. Each of the other theories that Plaintiff pleaded against

Defendants MVT and Garcia also fit the Parret-Wells exception. Defendant bears the

burden of proving that Plaintiff has no possibility of recovery under any of the theories

pleaded. Combined with the resolution of disputed questions of law and fact in favor of the

non-removing party, Defendant cannot meet the heavy burden of proving fraudulent

joinder. Therefore, the case must be remanded.

                                      III.    Conclusion

       48. Defendants’ removal was procedurally defective because they removed the

case to the wrong District Course and did not obtain the consent of any other defendant.

Defendant Garcia is a properly joined party; there is not complete diversity, so this Court

lacks subject-matter jurisdiction. Defendants have not and cannot meet the heavy burden


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of proving that Defendants Garcia and MVT were fraudulently joined. Plaintiff has

pleaded viable claims against Defendants Garcia and MVT that are not preempted by the

Oklahoma Workers’ Compensation Act. Given that all unresolved questions of law and

factor must favor remand, Defendants cannot prove that Plaintiff has no possibility of

recovery under her asserted claims.

      49. For these reasons, removal was improper, and the case must be remanded to

the District Court of Sequoyah County, Oklahoma.




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                                          Respectfully submitted,

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                             CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on the 4th day of January, 2021, the foregoing was filed

electronically pursuant to CM/ECF procedures for the Western District of Oklahoma,

which caused the parties or counsel to be served by electronic means, as more fully

reflected on the Notice of Electronic Filing.

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                       Exhibit No. 1

                MVT Return of Service
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                       Exhibit No. 2

               Garcia Return of Service
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                   Exhibit No. 3

               Lima Affidavit of Service
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                       Exhibit No. 4

              Estrada Affidavit of Service
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                       Exhibit No. 5

                DMT Return of Service
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                       Exhibit No. 6

               Gaithe Return of Service
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                       Exhibit No. 7

           OEP MVT PLAN DOCUMENT
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        OEP HOLDINGS, LLC

Occupational Injury Benefit Plan

               January 1, 2015
                       (revised July 1, 2019)




              OFFICIAL PLAN
               DOCUMENT
                         PLAN NO. 502




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                          OEP HOLDINGS, LLC
                   OCCUPATIONAL INJURY BENEFIT PLAN

         OEP Holdings, LLC 1155 N Zaragoza, Suite C106, El Paso, Texas 79907 (hereinafter referred to
as the “Company”) has adopted an Occupational Injury Benefit Plan ("Plan") for the exclusive benefit of
certain of its employees whose principal place of employment is in the State of Texas. The Company has
rejected coverage for its Texas employees under the Texas Workers’ Compensation Act and hereby
adopts this Plan effective as of January 1, 2015, to provide the benefits as set forth herein.

         This Plan provides certain specified benefits for injuries solely arising from workplace accidents.
The benefits set forth below are “excepted benefits” under the terms of certain statutes, including without
limitation, the Public Health Service Act (42 U.S.C. § 300gg-91) and the Health Insurance Portability and
Accountability Act of 1996 (sec. 706(c)).

                                       PLAN ADMINISTRATOR

       The Company shall serve as the Plan Administrator for all purposes under the Employee
Retirement Income Security Act of 1974 ("ERISA"), as amended, though it may appoint an individual or
committee to act as Plan Administrator as stated herein. A Claims Administrator may be appointed by
the Company or Plan Administrator to carry out the day-to-day responsibility for administration of the
Plan.

                                         FIDUCIARIES AND
                                      PLAN RESPONSIBILITIES

        The Company and the Plan Administrator are fiduciaries whose duties and responsibilities are
described herein.

                                          FUNDING POLICY

        The Company shall have no obligation but shall have the right to obtain insurance contracts with
one or more insurers in order to provide funds to the Company to reimburse the Company for or to pay
certain benefits under this Plan. Any such insurance contract shall be owned by the Company and no
Participant shall have any interest in or right to any benefits payable under such contract. The Company
shall have no obligation to establish any fund or trust for the payment of benefits under this Plan.

                                              ARTICLE I
                                             DEFINITIONS

Certain words used in this document have specific meanings. These terms will be capitalized throughout
the document. The definition of any word, if not defined in the text where it is used, may be found in this
Definitions section.




         OEP Injury Benefit Plan                                                                     Page 2
